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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-01776-MEH

UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,

       Plaintiff,
v.

SKIHAWK CAPITAL PARTNERS, LLC,
THE CONVERGENCE GROUP, LLC,
CLEMENT M. BORKOWSKI,
SEAN A. HAWKINS, and
JOSEPH P. SCHIFF,

       Defendants.


                      JOINT MOTION FOR STATUS CONFERENCE


       Defendants SkiHawk Capital Partners, LLC, The Convergence Group, LLC, Clement M.

Borkowski, Sean Hawkins, and Joseph P. Schiff (“Defendants”) and Plaintiff U.S. Securities and

Exchange Commission (“Plaintiff”) (referred to herein collectively as the “Parties”), through their

undersigned counsel, respectfully move the Court for a status conference pursuant to Federal Rule

of Civil Procedure (“F.R.C.P”) 16(a). As grounds therefor, the Parties state:

       D.C.COLO.L.Civ.R. 7.1(a) Conferral: Counsel for Parties conferred and agreed to file

this Motion for Status Conference jointly.

                                        BACKGROUND

       1.      On June 29, 2021, Plaintiff filed a complaint commencing this complex securities

enforcement action against the Defendants. [ECF No. 1].



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       2.      On August 26, 2021, the Parties consented to a “United States magistrate judge

conduct[ing] all proceedings in this civil action, including trial, and to order the entry of a final

judgment.” [ECF No. 14].

       3.      On September 13, 2021, Defendants filed a Partial Motion to Dismiss for Failure

to State a Claim pursuant to F.R.C.P. 12(b)(6) seeking dismissal of several of Plaintiff’s claims.

[ECF 19]. The Partial Motion to Dismiss was fully briefed on October 28, 2021. [ECF No. 23].

       4.      Due to the Partial Motion to Dismiss, the Parties agreed that “absent an order

staying any discovery, the parties will work together to first focus discovery, to the extent

reasonable, on aspects of the case that are not at issue in the contemplated motion to dismiss.”

[ECF Nos. 13 at 10, 16 at 10].

       5.      On February 1, 2022, “[d]ue to Magistrate Judge Tafoya’s retirement, this case

[was] reassigned to Magistrate Judge Michael E. Hegarty as the presiding judge.” [ECF No. 26].

       6.      Shortly before filing this Motion, the Parties filed a Joint Motion for Extension of

Case Deadlines requesting the Court to modify the August 30, 2022 Scheduling Order by

extending several pre-trial deadlines. [ECF No. 16].

                                          ARGUMENT

       7.      Pursuant to F.R.C.P. 16(a), the Court has the authority to order the attorneys in this

matter to appear for pretrial conferences for a variety of reasons, including expediting disposition

of the action, discouraging wasteful pretrial activities, improving the quality of the trial through

more thorough preparation, and facilitating settlement.

       8.      The Parties believe that they and the Court would benefit from a status conference

to the extent the Court may be able to assist them in the following respects: (i) addressing and, as


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necessary, modifying the pre-trial schedule; (ii) narrowing and clarifying the issues in the case and

in discovery, particularly in light of the pending Partial Motion to Dismiss; and (iii) facilitating

discussions about a potential early resolution of the case.

       9.      The Parties also believe it would be useful to acquaint the Court with the case and

the Parties’ claims and defenses given the recent reassignment.

       WHEREFORE, the Parties respectfully request the Court to schedule a status conference

at its earliest convenience.

       Respectfully submitted on March 24, 2022.

/s/ Paul L. Vorndran                          s/ Mark L. Williams
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